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                    UNITED STATES DISTRICT COURT
                 SOUTHERN DISTRICT OF WEST VIRGINIA
                            AT CHARLESTON



UNITED STATES OF AMERICA

v.                                  CRIMINAL ACTION NO. 2:08-00116-02

RAYMOND BROWN


         SUPERVISED RELEASE REVOCATION AND JUDGMENT ORDER
                   MEMORANDUM OPINION AND ORDER


           On November 3, 2015, the United States of America

appeared by Joshua C. Hanks, Assistant United States Attorney,

and the defendant, Raymond Brown, appeared in person and by his

counsel, Brian D. Yost, for a hearing on the petition on

supervised release and amendment thereto submitted by United

States Probation Officer Lilla Adkins.          The defendant commenced

a five-year term of supervised release in this action on

December 11, 2012, as more fully set forth in the Judgment

Including Sentence Under the Sentencing Reform Act entered by

the court on October 17, 2008.


           The court heard the admissions of the defendant and

the representations and argument of counsel.
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           For reasons noted on the record of this proceeding,

which are ORDERED incorporated herein by reference, the court

found that the defendant has violated the conditions of

supervised release in the following respects:            (1) the defendant

used and possessed controlled substances as evidenced by his

admission to the probation officer on October 30, 2013, that he

had used synthetic marijuana on or about October 26, 2013; a

positive urine specimen submitted by him on January 15, 2014, at

which time he admitted to the probation officer that he used

marijuana; a positive urine specimen submitted by him on

February 28, 2014, at which time he admitted to the probation

officer that he used marijuana; a positive urine specimen

submitted by him on September 1, 2015, at which time he admitted

to the probation officer that he had been using marijuana for

the previous two months; and a positive urine specimen submitted

by him on October 1, 2015, for marijuana at which time he

admitted to the probation officer that he had used marijuana

approximately one week prior; (2) the defendant failed to abide

by the condition that he not leave the judicial district without

permission inasmuch as on March 2, 2015, he was the driver of a

vehicle during a traffic stop conducted by a state highway

patrolman in Franklin County, Ohio; (3) the defendant failed to
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submit monthly supervision reports for June and July 2015; (4)

the defendant failed to report to the probation officer as

directed on August 21, 2015; (5) the defendant failed to

participate in the employment program at Goodwill Industries as

directed by the probation officer on February 27, 2015, inasmuch

as he missed numerous appointments and never completed the

program as directed; (6) the defendant failed to complete

community service hours as directed by the probation officer

inasmuch as he failed to appear as directed and never attempted

to complete community service hours; (7) the defendant failed to

work regularly at a lawful occupation inasmuch as he was not

employed from October 2014 up to the time of the filing of the

petition on September 23, 2015; (8) the defendant failed to

abide by the condition that he not associate with any person

engaged in criminal activity and shall not associate with any

person convicted of a felony inasmuch as on May 30, 2014, he was

a passenger in a vehicle driven by Randy A. Taylor, II, who was

stopped, questioned, failed several field sobriety tests, was

arrested and charged with driving under the influence, and who

had previously been convicted of possession with intent to

distribute oxycodone in United States District Court; (9) the

defendant failed to notify the probation officer within 72 hours
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of the traffic stops in which he was involved on May 30, 2014,

and March 2, 2015; (10) the defendant failed to report for drug

testing as directed on August 13, 2014, and April 14, May 15,

June 9 and August 27, 2015; and (11) the defendant failed to

attend drug treatment as directed on February 5, April 14, 17

and 28, 2015; all as admitted by the defendant on the record of

the hearing and as set forth in the petition on supervised

release and amendment thereto.


           And the court finding, as more fully set forth on the

record of the hearing, that the violations warrant revocation of

supervised release and, further, that it would unduly depreciate

the seriousness of the violations if supervised release were not

revoked, it is ORDERED that the supervised release previously

imposed upon the defendant in this action be, and it hereby is,

revoked.


           And the court having complied with the requirements of

Rule 32(a)(1)(B) and (C) of the Federal Rules of Criminal

Procedure, and finding, after considering the factors set forth

in 18 U.S.C. § 3583(e), that the defendant should be confined to

the extent set forth below, it is accordingly ORDERED that the

defendant be, and he hereby is, committed to the custody of the
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United States Bureau of Prisons for imprisonment for a period of

SIX (6) MONTHS, to be followed by a term of fifty-four months of

supervised release upon the standard conditions of supervised

release now in effect in this district by order entered June 22,

2007, and the further condition that the defendant not commit

another federal, state or local crime and the special condition

that he spend a period of six months in a community confinement

center and participate in outpatient substance abuse counseling

and treatment as directed by the probation officer or,

alternatively if available, that he spend a period of six (6)

months in a residential drug abuse treatment center where he can

receive substance abuse counseling and treatment on an inpatient

basis.   Once released, the defendant shall continue to

participate in drug abuse counseling and treatment as directed

by the probation officer.


           The defendant was remanded to the custody of the

United States Marshal.




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           The Clerk is directed to forward copies of this

written opinion and order to the defendant, all counsel of

record, the United States Probation Department, and the United

States Marshal.


                                         DATED:      November 13, 2015



                                         John T. Copenhaver, Jr.
                                         United States District Judge




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